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                IN TIIE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 [IIIITED STATES OF   AMERICA :                  CRIMINAL NO.: 21-
          Y.                  :                  DATE FILED:

 BILL OMAR CARRASQUILLO                          VIOLATIONS:
        ilWa"Omarr"                              18 U.S.C S 371 (conspiracy - 1 count)
        alWa"Omir"                               17 U.S.C. $$ 1201(a)(lXA), 1204(aXl)
        aMa"Targetr"                             (circumvention of access control device     -1
        aMa"Targetin1080P,"                      count)
 JESSE GONZALES                                  17 U.S.C. $ s06(a)(1)(A); 18 u.S.C. $
        a/k/a "WulfY,"                           2319(bX1) (reproduction of a protected work
 MICHAEL BARONE                                  - 1 count)
                                                 17 u.S.c. $ s06(a)(1)(A); 18 u.S.C. $
                                                 2319(bX3) (public performance of a
                                                 protected work - 19 counts)
                                                 18 U.S.C. $ 1029(a)(2), (cXlXa)(i) (access
                                                  devicefraud-4counts)
                                                  18 U.S.C. $ 1343 (wire fraud   -   6 counts)
                                                  18 U.S.C. $ 1014 (false statements to a bank    -
                                                 3 counts)
                                                 18 U.S.C. $ 1957 (engaging in monetary
                                                 transactions derived from specified unlawful
                                                 activity - 19 counts)
                                                 18 U.S.C. S 1001 (false statement - 2 counts)
                                                 18 U.S.C. $2232(a) (removal of property to
                                                 prevent seizure - 2 counts)
                                                 26 U.S.C. $ 7201 (tax evasion - 4 counts)
                                                 18 U.S.C. $ 2
                                                 Notices of Forfeiture



                                     INDICTMENT

                                      COTJNT ONE

THE GRAND JURY CHARGES THAT:

                      INTRODUCTION AND BACKGROT]ND

           At all times material to this indictment:

           1.     Defendant BILL OMAR CARRASQUILLO, alWa"Omat " "Omi,"
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                o'Targetl080p," was a resident and owner of property in the Eastern District of
"Target," and

Pennsylvania and the District of New Jersey'
                                                               was a resident of the
                 2.     Defendant JESSE GONZALES, alva"Wulfu,"

Central District of California'
                                                                of the Eastern District            of
                 3.     Defendant MICHAEL BARONE was a resident

New York.

                 4.      persons 1 through 13 are individuals whose identities are known to the

                                                                              whose identities
grand   jury. Foreign company I   and Foreign company 2 are foreign companies


are known to the grand    jury'
                                                                     content (defined below in
                 5.      comcast corporation ("comcast") was a video

                                               headquartered in the Eastern District   of
 Paragraph 10) and internet services provider,
                                                                   its video content through a
 pennsylvania. At certain times during the scheme, comcast offered

                                              subscriptions to video content and intemet
 subsidiary known as Xfinity. comcast offered

                                               but not all, of the Video Content offered by
 services to its fee-paying subscribers. Much,

                                             and comcast was licensed to deliver the
 comcast was protected by the copyright Act,

                                               Customers who signed up to receive cable
 copyrighted Video Content to its subscribers.

                                              to terms of service which were provided to the
 television service from comcast were subject

                                          website. comcast's terms of service provided
                                                                                       that
 customer and made available on comcast's

                                               residential, and non-commercial purposes' The
 the service was to be used only for personal,

                                              other things, reselling the video content in
                                                                                           whole
 terms of service expressly prohibited, among

  or in part.

                   6.     verizon Fios ("verizon")was    a   video content and internet services

  provider, headquartered in the Southern District of New
                                                          York' verizon offered subscriptions to
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Video Content and internet services to its fee-paying customers. Much, but not all, of the Video

Content offered by Verizon was protected by the Copyright Act, and Verizon was licensed to

deliver the copyrighted video content to its subscribers. Customers who signed up to receive

cable television service from Verizon were subject to terms of service, which were provided to

the customer and made available on Verizon's website. Verizon's terms of service provided that

the services were only for private, non-commercial use, and expressly prohibited rebroadcast or

transmission of the Video Content.

               7.     Charter Communications ("Charter") was a Video Content and internet

services provider, headquartered in the Dishict of Connecticut, and doing business as Spectrum.

Charter offered subscriptions to Video Content and internet services to its fee-paying

subscribers. Much, but not all, of the video content offered by Charter was protected by the

Copyright Act, and Charter was licensed to deliver the copyrighted Video Content to its

subscribers. Customers who signed up to receive cable television service from Charter were

subject to terms of service, which were provided to the customer and made available on

Charter's website. Charter's terms of service provided that Charter's services were for the

subscriber's personal, non-cofllmercial use. Charter's terms of service expressly prohibited

transmission of Charter's Video Content to any person who was not a member or guest of the

subscriber' s household.

               8.      DirecTV was a Video Content provider, headquartered in the Central

District of California. DirecTV offered subscriptions to Video Content to its fee-paying

subscribefs. Much, but not all, of the Video Content offered by DirecTV wasprotected by the

Copyright Act, and DirecTV was licensed to deliver the copyrighted video content to its

subscribers. Customers who signed up to receive cable television services from DirecTV were
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                                                   the customer and made available on
subject to terms of service which were provided to

                                                       that DirecTV service was provided to
DirecTV,s website. DirecTV,s terms of service provided

                                                   use, enjoyment, and home viewing' The terms
the subscriber solely for private, non-colnmercial

                                                     rebroadcasting' transmitting' or performing
of service expressly prohibited, among other things,

the Video Content.

               g.                                                     provider' headquartered in
                          Frontier communications was a video content

                                                            to video content to its fee-paying
the District of connecticut. Frontier offered subscriptions

subscribers. Much, but not all, of the   video content offered by Frontier was protected by the

                                                    the copyrighted video content to its
copyright Act, and Frontier was licensed to deliver
                                                cable television services from Frontier were
subscribers. customers who signed up to receive

                                                to the customer and made available on
subject to terms of service which were provided

                                                provided that the video content could be used
Frontier,s website. Frontier's terms of service

                                                    use and enjoyment, and expressly prohibited
 only for the subscriber,s private non-cofl)mercial

 rebroadcasting or transmitting the Video Content'
                                                                           (collectively' the
                10.       comcast, verizon, charter, DirecTV, and Frontier

 ..video content providers,,) acquired and curated their collections of video content-which is

                                                  movies, television shows, and other audiovisual
 defined, for the pu{poses of this Indictment, as

                                                   of what their subscribers would find to be
 content-based on their particularized assessments
                                               The Video Content Providers compiled their
 entertaining, useful, or otherwise appealing'

                                               made them easily accessible to their subscribers'
 collections of video content in a manner that
                                                    mechanisms that allowed subscribers to
 The video content Providers also provided delivery

                                                      marurers and platforms'
  access the Video Content in a variety of convenient
                                                                                      of the video
                 I   1.    Much, but not all, of the video content in the collections
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Content Providers was protected by copyright.

                 12.    The Video Content Providers delivered their Video Content in encrypted

format. In order for a subscriber to access Video Content, the respective Video Content Provider

provided the subscriber with a set top box, access catd, or other device, which removed the

Video Content Provider's encryption from the Video Content and concurrently applied High-

Bandwidth Digital Content Protection ("HDCP") to the Video Content.

                 13.    HDCP was a technological measure that effectively controls access to

works, including copyrighted works, and protects the rights of copyright owners. Specifically,

HDCP was a form of encryption designed to prevent copying of Video Content as it travels

across digital interfaces, including between the equipment provided by the Video Content

Provider and the television or other device used by a subscriber to view the content. Video

Content protected by HDCP is only viewable on an HDCP-compliant device. In order for a

device to be HDCP-compliant, the manufacturer of the device must have agreed to various

conditions, including that the device was not designed to make copies.

                 14.    High-Definition Multimedia Interface ("HDMI") cables are often used to

transmit Video Content across digital interfaces, including from a set top box to a television.

                 15.    Video Content provided by the Video Content Providers could not have

been copied without removing HDCP.

                 16.    Foreign Company 2 was a provider of public and private cloud products,

headquartered in Montreal, Canada.

                 11.    DataCamp Ltd. operated a content delivery network, which was comprised

of   a geographically distributed group   of servers that were designed to provide fast delivery   of

content over the internet. DataCamp was headquartered in the United Kingdom, and had data
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centers in the United States and other countries'

                                                                               by DataCamp Ltd'
                1g.        CDN77 was a global content delivery network offered

                                                                                      payment
                19.        A merchant processor was a company that handled electronic

                                                   merchant to accept payment by way of credit
transactions on behalf of a merchant, allowing the

card, debit card, or other electronic payment.
                                               In general, a merchant processor relayed the

payment information to the customer'S bank
                                           (known as the "issuing bank") and the merchant's

                                                    processor confirmed from the customer's
bank (known as the "acquiring bank."). The merchant

bank that the payment information was valid'
                                             upon confirmation that the payment information

                                              have the necessary funds routed from the
was valid, the merchant processol arranged to

                                                   for the benefit of the merchant'
customer's bank to the merchant's bank, ultimately

                                                a merchant processing account, a merchant
                                                                                            typically
                 20.       ln order to obtain

                                                     which incruded information that allowed the
 submitted an apprication to the merchant processor,

                                                   presented a suitable risk profile' Among
 merchant processor to assess whether the merchant

                                                    the nature of the merchant's business' the
 other factors, most merchant processorc considered

                                                       of chargebacks, which is when a customer
 merchant,s credit history, and the merchant's history

 initiates a reversal of   a PaYment'


                            Merchant processors aimed to minimize the risk
                                                                           of chargebacks because,
                  Zl.
                                                        is initiated after the merchant has
 under certain circumstances, such as when a chargeback

                                              be financia[y riable to reimbwse the customer.
 become insorvent, the merchant processor may
                                                                                  that' among other
                  22.       Stripe was a technology company that offered software

                                                   their customers' Stripe partnered with wells
 things, allowed merchants to accept payments from
                                                                                 Insurance corporation
  Fargo Bank,   N.A.-a      financial institution insured by the Federal Deposit

                                                                      the proceeds into the
  ("FDIC")-to     collect payments from customers and then distribute
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merchant' s bank account.

               23.    Bank of America Merchant Services ("BOAMS") was a merchant

processor that allowed merchants to accept payments from their customers. From in or about

January 2019 through on or about June 2020, BOAMS was        a   joint venture between Bank of

America and First Data (now Fiserv). BOAMS partnered with Bank of America,         N.A.-an

FDlC-insured institution-to collect payments from customers and then distribute the proceeds

into the merchant's bank account.

               24.     Nuvei Technologies ('Nuvei") was a technology company that offered

software that, among other things, allowed merchants to accept payments from their customers.

Nuvei partnered with Wells Fargo Bank-an FDlC-insured institution-to collect payments

from customers and then distribute the proceeds into the merchant's bank account.

               25.     Worldpay was a merchant processor that allowed merchants to accept

payments from their customers. Worldpay partnered with Fifth Third Bank-an FDlC-insured

institution-to collect payments from    customers and then distribute the proceeds into the


merchant' s bank account.

                26.    Electronic Merchant Services ("EMS") was a merchant processor that

allowed merchants to accept payments from their customers. EMS partnered with a variety       of

FDlC-insured financial institutions, including BMO Harris Bank, N.A', Central Bank of St.

Louis, Esquire Bank, Merrick Bank, and Chesapeake Bank Kilmarnock.

               27.     From at least in or about March 2016 to on or about at least November 23,

 ZOlg,in the Eastern District of Pennsylvania, the District of New Jersey, the Central District of

California, and elsewhere, defendants

                                BILL OMAR CARRASQUILLO,
                                           a.lUa"Omarr"
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                                            tlWil "Omir"
                                           alUa"Targetr"
                                        aMa"Targetin1080P,"
                                        JESSE GONZALES,

                                        ##,ilI',Jff;H$,
conspired and agreed with Person   l,   and others, known and unknown to the grand jury, to


commit offenses against the United States, namely:

                      a.      Copyright Infringement, that is, willfully, and for the purpose of

commercial advantage and private financial gain, infringing a copyright by the reproduction of at

least ten copies of one or more copyrighted works, namely motions pictures and other

audiovisual works, without the authorizationof the copyright holder, with a total retail value      of

more than $2,500, during a 180-day period, in violation of Title 17, United States Code, Section

506(a)(1)(A), and Title 18, United States Code, Section 2319(b)(1);

                      b.      Copyright Infringement, that is, willfully, and for purposes    of

commercial advantage and private financial gain, infringing copyrights in motion pictures and

other audiovisual works, by streaming, that is, publicly performing the work over the intemet, in

violation of Title 17, United States Code, Section 506(a)(1XA), and Title 18, United States Code,

Section 2319OX3);

                       c.     circumvention of Access controls, that is, willfully, and for the

purpose of commercial advantage and private financial gain, circumventing a technological

measure that effectively controls access to one or more works protected under   Title   17 of the


United States Code, namely, television shows and movies offered by the Video Content

providers, and others, in violation of Title 17, United States Code, Sections 1201(aXl)(A), and

20a@)0);

                       d.     Access Device Fraud, that is, knowingly and with intent to
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defraud, using unauthorized access devices including accorurt numbers, access card numbers,

serial numbers, receiver ID numbers, media access control ("MAC") addresses, and equipment

(collectively, o'Access Devices"), and by such conduct, which affected interstate and foreign

cofilmerce, obtaining property and services valued at $1,000 or more, in violation of Title 18,

United States Code, Sections 1029(a)(2) and (cXlXaXi); and

                        e.     Wire Fraud, that is, devising and intending to devise, a scheme and

artifice to defraud, and to obtain money and property by means of materially false and fraudulent

pretenses, representations, and promises, and transmitting and causing certain wire

communications to be transmitted in interstate and foreign commerce, for the purpose       of

executing the scheme and artifice, in violation of Title 18, United States Code, Section 1343.

                                     MANNERAND MEAIIS

                It was part of the consPiracY that:

                 28.    For more than three years, defendants BILL OMAR CARRASQUILLO,

JESSE GONZALES,        MICHAEL BARONE, Person 1, and others, known and unknown to the

grand   jury, conspired to fraudulently obtain Video Content and subscriber fees from, and      at the


expense of, the Video Content Providers, and money and merchant processing accounts from the

Merchant Processors (defined below in Paragraph 44).

                 29.    During the period of time set forth above, defendants BILL OMAR

CARRASQUILLO, JESSE GONZALES, MICHAEL BARONE, Person                       1, as   well as others,

known and unknown to the grand jury, operated a Video Content delivery service, which was

called at various times REBOOT, GEARS TV, RELOADED, and GEARS RELOADED

(collectively, the'olnfringing Service"). The Infringing Service delivered Video Content,

including television shows and movies, to subscribers to the Infringing Service, in exchange for
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payment.

                30.    Along with the Infringing Service, defendants BILL OMAR

CARRASeUILLO,IESSE GONZALES, MICHAEL BARONE, Person l, and others, known

and unknown to the grand   jury, offered   at various times to the subscribers to the   Infringing

Service a library, called "STREAMS R US" or "SRIJ," of motion pictures and other Video

Content that they had copied and/or caused to be copied.

                31.    Defendants BILL OMAR CARRASQUILLO, JESSE GONZALES,

MICHAEL BARONE, Person 1, and others, known and unknown to the grand jury, obtained

access to the Video Content, among other ways,      by subscribing, and/or causing others to

subscribe, to residential cable television and video services from Video Content Providers

including Comcast, Verizon, Charter, DirecTV, and Frontier.

                 32.   Defendants BILL OMAR CARRASQUILLO, JESSE GONZALES,

MICHAEL BARONE, Person l, and others, known and unknown to the grand jury, caused the

Video Content Providers to provide them with numerous Access Devices, including set top

boxes, which allowed the defendants to access Video Content offered by the Video Content

Providers.

                 33.   Defendants BILL OMAR CARRASQUILLO, JESSE GONZALES,

MICHAEL BARONE, Person          1, and others,   known and unknown to the grand jury, obtained,

and/or caused to be obtained, and set up the Access Devices in a variety of locations. They

elected to place the Access Devices in at least seven different homes in Philadelphia,

Pennsylvania, as well as, at various times during the conspiracy, in other places including

California and New York.

                 34.   Defendants BILL OMAR CARRASQUILLO, JESSE GONZALES,




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MICHAEL BARONE, person         1, and others,   known and unknown to the grand jury, imported, or

caused to be imported, from China, encoders that were designed
                                                               to strip HDCP from the Video

                                                                      Content to be transmitted
Content of multiple Access Devices at a time, which allowed the Video

                                                                            by the conspirators.
over the internet and copied to computer servers operated and/or controlled

               35.    Defendants   BILL OMAR CARRASQUILLO,             JESSE GONZALES,


                               1, and others, known and unknown to the grand
                                                                                jury, did not   use
MICHAEL BARONE, Person
                                                                    use. Instead, the
the Access Devices to view the Video Content for their own personal

                                                                   channel and then connected to
conspirators caused each Access Device to be tuned to a particular

                                                                       then caused the
an encoder that stripped HDCP from the Video Content. The conspirators

                                                                           DataCamp Ltd'
unencrypted Video Content to be transmiued to dedicated servers, including

servers, paid for by the conspirators, which DataCamp Ltd. servers
                                                                   were located in the United


States, where the Video Content was made available to subscribers
                                                                  of the    Infringing Service- The

                                                                         to dedicated servers at
conspirators also caused the unencrypted video Content to be transferred

                                                                        was stored, and made
Foreign Company 2, paidfor by the conspirators, where the Video Content

                                                                         48 hours to subscribers
available, in an.,on-demand" format, for a period of approximately 24 to

of the Infringing Service.

                36.    Defendants BILL OMAR CARRASQUILLO, JESSE GONZALES,

                                                                     jury, established
MICHAEL BARONE, person l, and others, known and unknown to the grand

websites, including gearsservers.com, gearsservers.net, omarsvideos.com, omarsvideos2'com,

hostingbros.net, gearsiptvnow.com, targetcreates.com, mayfairguides'com,
                                                                         mayfairguides'net'

                                                                          Service and related
 and reloadedview.com, which allowed subscribers to access the Infringing

                                                                              the Video Content,
 software, among other things, to subscribe to the Infringing Service, access

 and submit inquiries and requests (which were known as "tickets").




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               3T.DefendantsBILLOMARCARRASQUILLO,JESSEGONZALES',
                                                     did not at any point seek or obtain
MICHAEL BARONE, person 1, and the other conspirators
                                                      to transmit, coPY, or stream the video
authorization from the copyright holders or licensees

Content.

               38.     Defendants BILL OMAR CARRASQUILLO, JESSE GONZALES'

                                1, and the other conspirators   did not at any point disclose to the
MICHAEL BARONE, Person
                                                                     at multiple locations' they
Video Content Providers that, in signing up for residential services

                                                         to thousands of their own subscribers'
intended to copy, transmit, and stream the Video Content

                39.    Defendants BILL OMAR CARRASQUILLO, JESSE GONZALES,

                                                               grand jury' publicized
MICHAEL BARONE, Person 1, and others, known and unknown to the
                                                            posted to a YouTube channel called
the Infringing Service by way of producing videos that were

..TARGETINlO8OP."

                40.    Defendants BILL OMAR CARRASQUILLO, JESSE GONZALES'

                                                               grand jury, advertised
MICHAEL BARONE, Person 1, and others, known and unknown to the

and administered the Infringing Service, among other ways,
                                                           by interacting with each other and

                                                                     including Facebook'
the subscribers to the Infringing Service via social media platforms

 Instagram, Discord, and Google Hangouts'

                4I.     person 1, and others, known and unknown to the grand jury, developed

                                                                      permitting users to see a
 software which served as a subscriber interface, akin to a TV Guide,

 listing of particular programming and select particular programing for viewing'

                 42.    Defendants BILL OMAR CARRASQUILLO, Person 1, and others,

                                                                             41 to be
 known and unknown to the grand jury, caused software described in Paragraph

 incorporated into the Infringing Service'




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                43.    Defendants BILL OMAR CARRASQUILLO, JESSE GONZALES,

MICHAEL BARONE, Person l, and others, known and unknown to the grand jury, collected

from subscribers to the Infringing Service more than $30 million in subscriber fees.

                44.    ln order to accept those subscriber fees, defendants BILL OMAR

CARRASQUILLO, JESSE GONZALES, and others, known and unknown to the grand jury,

applied for and, in some cases, obtained merchant processing accounts at Stripe, BOAMS, EMS,

Nuvei, and V/orld Pay, among others (collectively, the "Merchant Processors"). In order to

conceal the true nature of the Infringing Service, defendants CARRASQUILLO, GONZALES,

and others, known and unknown to the grand     jury, falsely described, and caused to be falsely

described, the nature of the Infringing Service, and the identity of its owners, on applications to

the Merchant Processors and, in some instances, their FDlC-insured partnering banks, including

Wells Fargo Bank, N.A., Bank of America, N.A, Esquire Bank, and BMO Harris Bank, N.A.

               45.     ln support of their applications for merchant processing services,

Defendants BILL OMAR CARRASQUILLO, JESSE GONZALES, and others, known and

unknown to the grand jury, also submitted fraudulent documents, including false and unfiled

Form 1040 tax returns for defendant CARRASQUILLO for tax years 2016 and20l7,             a false


Form Schedule C for defendant GONZALES for tax year 2018, and a fraudulent "Business

Portfolio Purchase Agreement" that purported to show that,    as   of June 3,2019 at 3:00PM,

defendant GONZALES had sold a business that "provid[ed] an online customer base with web

hosting capabilities" to defendant CARRASQUILLO in exchange for a $3,000,000 payment and

twenty-four monthly payments of $50,000.

               46.     Defendants BILL OMAR CARRASQUILLO, JESSE GONZALES,

MICHAEL BARONE, Person 1, and others, known and unknown to the grand jury,




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                                                                                       and
                                           to be misrepresented' concealed and hidden'
misrepresented, concealed, and hid, caused

                                            the actions done in furtherance of the conspiracy'
attempted to misrepresent, conceat and hide

                                          OVERT ACTS

               Infurtheranceoftheconspiracyandtoaccomplishitsobjects,defendantsBILL

                                   MICHAEL BARONE', and others known and
OMAR CARRASQUILLO, JESSE GONZALES,

unknowntothegrandjury,commiffedthefollowingovertacts'amongothers'intheEastem

District of Pennsylvania and elsewhere:

                         ESTABLISHING SHELL CORPORATIONS

                l.onoraboutSeptember|3,2ol1,defendantBILLOMAR

 CARRASQUILLOcausedtobeincorporatedHostingbroslnc.withthePennsylvania

 Department of State.

                2.onoraboutSeptember4,zo|s,Person2causedReloadedLLCtobe

 registered with the Perursylvania Department
                                              of State'

                3.onoraboutApril12,z}Ig,defendantBILLOMARCARRASQUILLo

 caused Gears Reloaded LLC to be registered
                                            with the Pennsylvania Department of State'

                                OBTAINING YIDEO CONTENT

                4.onoraboutJuneT,2oll,defendantBILLOMARCARRASQUILLO
                                         order to receive Video Content provided by Comcast
 opened Comcast account number x0198, in

  at34l2N. Hope    Street, Philadelphia, PA'

                 5.onoraboutlu.iy27,20|6,defendantBILLOMARCARRASQUILLO
                                               to receive     video content provided by DirecTV
  opened DirecTV account number x0509 in order

  at3412N. Hope Street, Philadelphia, PA'

                 6,onoraboutJune15,20l6,defendantBILLOMARCARRASQUILLO



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caused to be opened Verizon account number x0001, in order to receive Verizon Video Content

at34l2 N. Hope Street, Philadelphia, PA.

                  7.     On or about April22,2017, defendant JESSE GONZALES opened

Spectrum (Charter) Account number x4554 in order to receive Spectrum Video Content at9748

Terradell Street, Pico Rivera, California.

                  8.     On or about April22,2017, defendants MICHAEL BARONE and JESSE

GONZALES engaged in a discussion about how to set up Access Devices and encoders at

defendant GONZALES' S house.

                  9.     On or about March 9,2019, defendant JESSE GONZALES and Person 3

caused Frontier Account number x9195 to be opened in order to receive Frontier Video Content

at   ll7l1   Ringwood Avenue, Norwalk, California.

                        OBTAINING DEVICES TO CIRCUIVTVENT HDCP

                  10.    On or about July 1, 2016, defendant BILL OMAR CARRASQUILLO

caused a wire transfer in the amount of $1,570 from a Wells Fargo Bank account that he

controlled to Foreign Company 1, known to the grand jury.

                  11.    On or about April 14, 2017, defendants BILL OMAR CARRASQUILLO

and JESSE GONZALES caused a wire transfer in the amount of $6,420 to Foreign Company 1,

as payment     for two 16-port encoders and one 8-port HDMI encoder.

                  12.    On or about January 7,2019, defendants BILL OMAR CARRASQUILLO

and JESSE GONZALES caused a wire transfer of $9,890 to Foreign Company 1, as payment for

five 16-port HDMI encoders.

                  13.    Between in or about July 2016 through in or about August 2019,

defendants CARRASQUILLO and GONZALES caused              HDMI encoders to be imported into,




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among other places, the Eastern District of Pennsylvania, and the Central District of California,

each such importation constituting a separate overt act.




                14.     on or about September 19,2016, defendant MICHAEL BARONE

communicated with Person 1 about having Person         I provide services to the Infringing   Service.


                15.     On or about October 6,20l6defendant BILL OMAR CARRASQUILLO

caused to be opened an account with Foreign Company 2bearrngthe customer identification

number rj314535-ovh.

                16.     On or about May I   l,2\l7,    defendant BILL OMAR CARRASQUILLO

caused to be opened an account with Foreign Company 2 bearing the customer identification

number jt303047-ovh.

                17.     On or about September 13,2017, defendant BILL OMAR

CARRASQUILLO caused to be opened a customer account with cDN77.

                18.     On the dates set forth below in Counts Four through Twenty-Two,

defendants   BILL OMAR CARRASQUILLO,             JESSE GONZALES, Person 1, and others known

and unknown to the grand   jury,   caused the public performance of the works set forth in those


counts in the Eastern District of Pennsylvania and elsewhere, each such performance constituting

a separate overt act.

                                   ADVERTISING TIIE SCHEME

                19.     On or about February 5,2016, defendant BILL OMAR

CARRASQUILLO started        a   YouTube channel entitled TARGETinl08Op.

                20.     On or about March 13,20t8, defendant BILL OMAR CARRASQUILLO

caused a video to be posted to the YouTube channel, in which he discussed the Infringing




                                                  t6
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Service.

               21.        On or about May 24,z}l9,defendant BILL OMAR CARRASQUILLO

caused a video called "Reloaded    TV Live Show" to be posted to the YouTube channel.

               22.        On or about September 23,2018, defendant BILL OMAR

CARRASQUILLO caused a video to be posted to the YouTube channel, in which he discussed

the Infringing Service.

               23.        On or about January 29,2019, defendant BILL OMAR

CARRASQUILLO caused a video called "The Best IPTV Service 2019 Gears Reloaded" to be

posted to the YouTube Channel.

               24.        On or about }/ray 26,2}l9,defendants BILL OMAR CARRASQUILLO

and JESSE GONZALES caused a video called "How to Order Gears Reloaded" to be posted to

the YouTube channel.

                                 DISTRIBUTING THE PROFITS

                25.       On or about Apnl24,20l7, defendant BILL OMAR CARRASQUILLO

caused $2,000 to be transferred to defendant   MICHAEL BARONE.

                26.       On or about   Apil24,20l7,      defendant   BILL OMAR CARRASQUILLO

caused $1,450 to be transferred to defendant JESSE GONZALES.

               27.        On or about May 31,2017, defendant BILL OMAR CARRASQUILLO

caused $1,000 to be transferred to defendant   MICHAEL BARONE.

                28.       On or about August 3,2017, defendant BILL OMAR CARRASQUILLO

caused $2,740.80 to be transferred to Person    1.


                29.       On or about December 21,2017, defendant BILL OMAR

CARRASQUILLO caused $2,000 to be transferred to defendant JESSE GONZALES.




                                                     t7
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               30.onoraboutFebruary16,20lS,defendantBILLOMAR

CARRASQUILLOcaused$2,000tobetransferredtodefendantJESSEGONZALES'

               3l.onoraboutApril30,20lS,defendantBILLOMARCARRASQUILLO

caused $2,000 to be transferred to defendant
                                                  MICHAEL BARONE.

                32.onoraboutMay3,20lS,defendantBILLOMARCARRASQUILLo

caused $17,680 to be transferred to Person 1'

                33.    on or about June 7,2018, defendant JESSE GONZALES caused $2'000

to be transferred to defendant MICHAEL BARONE'
                                                                         caused $21,298
                34.    On or about June 7,2018, defendant JESSE GONZALES

to be transferred to Person 1.

                35.    on or about August 16,20!S,defendant JESSE GONZALES caused

 8208,344.98 to be transferred to defendant       BILL OMAR CARRASQUILLO'



                 36.InoraboutJulyorAugustzolg,defendantBILLOMAR
                                                   grand jury, deleted or removed from
CARRASQUILLO, and others, known and unknown to the
                                                              discussing the Infringing
public access youTube videos featuring defendant CARRASQUILLO

 Service.

                All in violation of Title   18,   united States code, Section   371 '




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                                             COUNT TWO

THE GRAND JURY FURTHER CHARGES THAT:

               1.      The allegations set forth in Paragraphs 1 through 26,28 through 46, and

Overt Acts 1 through 36 of Count One are incorporated by reference.

               2.      From at least in or about March 2016 to at least in or about November

2019, in the Eastern District of Pennsylvania and elsewhere, defendants

                               BILL OMAR CARRASQUILLO,
                                      aML"Omarr"
                                       tMa"Omir"
                                         aMa"Target,,"
                                      aMa"TargetinlO8Op,"
                                       JESSE GONZALES,
                                           a/k/a   "WulS," and
                                      MICHAEL BARONE,

Person 1, and others, known and unknown to the grand jury, did willfully, and for the purpose   of

commercial advantage and private financial gain, circumvent and attempt to circumvent a

technological measure that effectively controls access to one or more works protected under Title

17 of the United States Code, namely, audiovisual television and movie programming offered by

the Video Content Providers, and others.

               All in violation of Title   17, United States Code, Sections   1201(a)(l)(A),

1204(a)(l), and Title 18, United States Code, Section 2.




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                                      COI.INT THREE

TIIE GRAND JURY FURTHER CHARGES THAT:
                                                                                          and
              1.      The allegations set forth in Paragraphs 1 through 26,28 through 46,

overt Acts 1 through 36 of count one are incorporated by reference'
                                                                                    in the
              2.      From on or about May 24,2019 to on or about November 20,2019,

Eastern District of Pennsylvania, and elsewhere, defendants

                              BILL OMAR CARRASQUILLO,
                                        zMt"Omarr"
                                         aMa"Omir"
                                        aMa"Targetr"
                                  aM a "T argetinl 080Pr" and
                                    JESSE GONZALES,
                                               (oWulff,"
                                        aflrla

Person 1, and others, known and unknown to the grand
                                                     jury, did willfullY, and for the purpose   of

                                                                               or more
commercial advantage and private financial gain, infringe the copyright of one

                                                                                 by the Video
copyrighted works, that is, motions pictures and other audiovisual works offered

                                                                                    copies or
Content providers, and others, by reproducing, during a 180-day period, at least 10

more of the copyrighted works which had a total retail value of more than $2,500.

               In violation of Title 17, United States Code, Section 506(aX1) and Title 18,

United States Code, Sections 2319(bX1) and2.




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THE GRAND JURY FURTHER CHARGES THAT:
                                                                                      46, and
              1.      The allegations set forth in Paragraphs 1 through 26,28 through

overt Acts 1 through 36 of count one are incorporated by reference'
                                                                                     Pennsylvania,
              2.      On or about the dates listed below, in the Eastern District of

and elsewhere, defendants

                               BILL OMAR CARRASQUILLO,
                                          a,IrJa'oOmarr"
                                           afirJao'Omir"
                                         aMa"Targetr"
                                     aMa'oTargetinl080P,"
                                      JESSE GONZALES,
                                          a/k/a   "Wulff,"
person 1, and others, known and unknown to the grand jury, did willfully, and for purposes of

                                                                     in the following motion
commercial advantage and private financial gain, infringe copyrights

pictures and other audiovisual works, by streaming, that is,
                                                             publicly performing the work over

the internet, each instance of which constitutes a separate count.




                         February   ll,20l9
                         March 4,2019              Man of Steel

                         March 4,2019              Broke and Famous

                         March 4,2019              Boston Red Sox v. New York Mets

                         March 4,2019

                         April5,2019               Southampton v. LiverPool

                         April 11,2019
                          April14,2019             Seattle KIRO News Broadcast




                                                   2l
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              t2      April 14,2019             Tampa Bay Lightning v. Columbus
                                                Blue Jackets

              13      April 14,2019             Game of Thrones

               t4     May 3,2019                Toronto Raptors v. Philadelphia 76ers

               l5     May 37,2019               Full Metal Jacket

               t6     August 5,2019             Who Wants to Be a Millionaire

               t7     August 5,2019             First Take

               18     November 20,2019          The Predator

               t9     November 20,2019          Wall Street: Money Never Sleeps

              20      November 20,2019          Shameless

              2t      November 20,2019          Open Water 3: Cage Dive

              22      November 20,2019          The Walking Dead


             All in violation of Title   17, United States Code, Section 506(aX1)(A) and   Title

18, United States Code, Sections 2319(bX3) and2.




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                     COUNTS TWENTY.THREE THROUGH TWENTY.SIX

THE GRAND JURY FURTHER CHARGES THAT:

                   1.       The allegations set forth in Paragraphs 1 through 26,28 through 46, and

Overt Acts 1 through 36 of Count One are incorporated by reference.

                   2.       During the one-year, or shorter, time periods described below, in the

Eastem District of Pennsylvania, the Central District of California, the Southern District of New

York, and elsewhere, defendants

                                    BILL OMAR CARRASQUILLO,
                                               alUa"Omarr"
                                               aMa"Omir"
                                              aMa"Targetr"
                                         aMa"TargetinI080p,"
                                          JESSE GONZALES,
                                            afl</a   *Wulffr" and
                                          MICHAEL BARONE,

Person   l,   and others, known and unknown to the grand jury, knowingly and with intent to

defraud, used, and caused to be used, unauthorized Access Devices, and by such conduct, which

affected interstate and foreign cofirmerce, obtained property and services valued at $1,000 or

more.


Count           Beeinnine Date                 Endine Date                  Charsed Defendants

  23          June 6,2016            June 5,2017                       Defendants BILL OMAR
                                                                       CARRASQUILLO, JESSE
                                                                       GONZALES, and
                                                                       MICHAEL BARONE
  24          June 6,2017            June 5,2018                               BILL OMAR
                                                                       Defendants
                                                                       CARRASQUILLO, JESSE
                                                                       GONZALES, and
                                                                       MICHAEL BARONE
  25          June 6,2018            June 5,2019                       Defendants BILL OMAR
                                                                       CARRASQUILLO and
                                                                       JESSE GONZALES




                                                       23
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                                 November 20,2019                     Defendants   BILL OMAR
          June 6,2019
                                                                      CARRASQUILLO and
                                                                      JESSE GONZALES


                All in violation of Title 18, United   States code, Sections 1029(a)(2) and


(c)(1)(a)(i) atrtd2.




                                                       24
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                 COTINTS TWENTY-SEYEN THROUGH TI{IRTY-TWO

THE GRAND JT]RY FURTHER CHARGES THAT:

               1.     The allegations set forth in Paragraphs 1 through 26,28 through 46, and

Overt Acts 1 through 36 of Count One are incorporated by reference.

               2.     From at least in or about March 2016 to at least in or about November

2019, in the Eastern District of Pennsylvania and elsewhere, defendants

                               BILL OMAR CARRASQUILLO,
                                      aMa"Omarr"
                                           tMil"Omir"
                                           alUa"Targetr"
                                     a[Wt'oT argetinl 080p,"
                                      JESSE GONZALES,
                                       afl</a
                                          "Wulffr?'and
                                     MICHAEL BAROI\E,

Person 1, and others, known and unknown to the grand jury, devised and intended to devise a

scheme to defraud the Merchant Processors and the Video Content Providers, and to obtain

money and property by means of materially false and fraudulent pretenses, representations and

promises.

                                    MANNERAND MEANS

               It was part of the scheme that:

               3.     On or about each of the dates set forth below, in the Eastern District   of

Pennsylvania, and elsewhere, defendants

                               BILL OMAR CARRASQUILLO,
                                      aMa "Omarr"
                                       alWa"Omir"
                                        alWa"Targetr"
                                     a[Wt "Targetinl080p,"
                                      JESSE GONZALES,
                                       a/k/a    "Wulffr" and
                                     MICHAEL BARONE,




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person 1, and others, known and unknown to the grand
                                                     jury, for the purpose of executing the

                                                 by means of wire communication in interstate
scheme described above, caused to be transmitted

cofllmerce the signals and sounds described
                                            below for each count, each transmission constituting


a separate count:

                                                                                Chareed
               Date        Start Point     End Point      Description          Defendants
  Count

                                                         Web Login to      Defendants
                                                         PayPal to make    BILL OMAR
                                                         payments of       CARRASQUILLO,
            September     Philadelphia,
                                           Utah          $129 and 534.32   and MICHAEL
     27                   PA
            21,2016                                      to                BARONE
                                                         GoDaddy.com,
                                                         LLC
                                                                           Defendants
                                                         Payment of        BILL OMAR
                                                         $3,426 for        CARRASQUILLO,
            November      Philadelphia,                  Foreign           JESSE
     28                                    Quebec, CA    Company 2
            7,2016        PA                                               GONZALES, and
                                                         account
                                                                           MICHAEL
                                                         rj3 14535-ovh
                                                                           BARONE
                                                                           Defendants
                                                         Web Loginto       BILL OMAR
                                                         PayPal to make    CARRASQUILLO,
            January 9,    Philadelphia,                  payment of $119   JESSE
     29                                    Utah
            20t7          PA                             to Foreign         GONZALES, and
                                                         Company 2          MICHAEL
                                                                            BARONE
                                                                            Defendants
                                                          Payment   of      BILL OMAR
                                                          $1,129 for        CARRASQUILLO,
            January 19,    Philadelphia,                  Foreign           JESSE
      30                                    Quebec, CA    Company 2
             2017          PA                                               GONZALES, and
                                                          account           MICHAEL
                                                          rj314535-ovh      BARONE

                                                          Payment of        Defendants
             March 3,      Philadelphia,                  $952.90 for       BILL OMAR
      3l                                    Quebec, CA    Foreign           CARRASQUILLO,
             2018          PA
                                                          Company 2         and JESSE




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                                                     account            GONZALES, and
                                                     j1303047-ovh       MICHAEL
                                                                        BARONE

                                                     Payment of         Defendants
                                                      $3,061.73 for     BILL OMAR
     June 3,       Philadelphia,                     Foreign            CARRASQUILLO,
)Z                                  Quebec, CA        Company 2         and JESSE
      20r9         PA
                                                      account           GONZALES
                                                     j1303047-ovh


         All in violation of Title 18, United   States Code, Section 1343.




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                   COTJNTS THIRTY.THREE THROUGH THIRTY.FIYE

THE GRAND JURY FURTHER CHARGES THAT:
               1.     The allegations set forth in Paragraphs   I through 26,28 through 46, and

Overt Acts 1 through 36 of Count One are incorporated by reference.

              2.      On or about the dates listed below, in the Eastem District of Pennsylvania

and elsewhere, defendants

                               BILL OMAR CARRASQUILLO,
                                      LlHa"Omarr"
                                       aMa"Omir"
                                        a[Wa"Targetr"
                                  aM a o'T trgetin1080pr" and
                                    JESSE GONZALES,
                                        a/k/a o'Wulff,"

knowingly made and caused to be made to the banks listed below the false statements described

  below for the purpose of influencing in any way the action of the bank on the application for

               merchant processing services, each constituting a separate count:


  Count       Date          Financial Institution                   False Statement(s)


    JJ       May 7,     Esquire Bank, an FDIC-       In connection with an application to EMS and
              2018      insured financial            Esquire Bank for merchant processing
                        institution                  services, defendant BILL OMAR
                                                     CARRASQUILLO falsely represented that
                                                     the "Type of Goods Sold" by Hosting Bros,
                                                     Inc. was "Server Hosting Company."




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34      June 14,    Wells Fargo Bank, N.A.,       In connection with an application to Nuvei
         2019       an FDlC-insured               and Wells Fargo Bank, N.A. for merchant
                    financial institution         processing services, defendants BILL OMAR
                                                  CARRASQUILLO and JESSE GONZALES:
                                                  (1) falsely represented that the "Product or
                                                   Service Sold" by GEARS SERVER was
                                                   "Web Hosting Services"; (2) provided false,
                                                  unfiled tax returns, namely a Form 1040
                                                  purporting to be for defendant BILL OMAR
                                                  CARRASQUILLO, for tax years 2016 and
                                                  2017; and (3) provided a false Business
                                                  Portfolio Purchase Agreement that purported
                                                  to show that on June 3, 2019, defendant
                                                  JESSE GONZALES had sold a business
                                                  engaged in "providing an online customer
                                                  base with web hosting capabilities," to
                                                  defendant BILL OMAR CARRASQUILLO
                                                  in exchange for a $3,000,000 down payment
                                                  and twenty-four monthly payments of
                                                  $50,000.


35     June 14,     BMO Ha:ris Bank, N.A.,         In connection with an application to EMS and
         20t9       an FDlC-insured                BMO Harris Bank, N.A., for merchant
                    financial institution         processing services, defendants BILL OMAR
                                                   CARRASQUILLO and JESSE GONZALES:
                                                   (1) falsely represented that the "Type of
                                                   Goods Sold" by Gears Servers was "Web
                                                  Hosting;" and (2) provided a false Business
                                                  Portfolio Purchase Agreement that purported
                                                  to showthat on June 3, 2019, defendant
                                                  JESSE GONZALES had sold a business
                                                  engaged in "providing an online customer
                                                  base with web hosting capabilities," to
                                                  defendant BILL OMAR CARRASQUILLO
                                                  in exchange for a $3,000,000 down payment
                                                  and twenty-four monthly payments of
                                                  $50,000.



 All in violation of Title 18, United   States Code, Sections   I0l4 and2.




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                               THAT:
THE GRAND JURY FURTHER CHARGES

               l.TheallegationssetforthinParagraphslthrough26,2Sthrough46,and

overtActslthrough36ofCountoneareincorporatedbyreference.

               2.onoraboutthedatessetforthbelow,intheEasternDistrictof

Pennsylvania, and elsewhere, defendants

                               BILL OMAR CARRASQUILLO,
                                            a,flrJa"Ofrarr"
                                             tMa"Omir"
                                           alUaooTargetr"
                                    alU a "T argetinl 080P,"and
                                       JESSE GONZALES'
                                           a/k/a *Wulff"

                                           in monetary transactions listed below' each such
did knowingly engage and attempt to engage

                                               through, or to a financial institution' affecting
transaction constituting a separate count, by,

                                           property of a value greater than $10'000' described
interstate commerce, in criminally derived

                                                 from specified unlawful activities' that is: (1)
more firlly below, and such property was derived

                                           ritle         united States code, Section 506(a)(1) and ritle
 copyright infringement, in violation of           17,

                                                                     and   (cXlXaXi); (2)   access device
 18, United states code, sections 2319(bX1)        'andl029(a)(2)
                                                      Section 1)2g(a)(2) and (c)(l)(aXi); and (3)
 fraud, in violation of Title 18, United States Code,

                                                     Code, Section 1343'
 wire fraud, in violation of Title 18, United States

                               Amount                    Defendant                   Description
    Count        Date

                            $80,000.00         BILL OMAR                    A withdrawal of funds from
      36      1y2212017
                                               CARRASQUILLO                 Wells Fargo Bank account
                                                                            ending in x8602 for the
                                                                            purpose ofPurchasing a 2018
                                                                            Chewolet Corvette.




                                                         30
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3t    t2122120t7   $78,233.80    BILL OMAR        A withdrawal of funds from
                                 CARRASQUILLO     Wells Fargo Bank account
                                                  ending in x8602 for the
                                                  purpose ofpurchasing a 2018
                                                  Dodge Durango.

38    31612018     $91,500.00    BILL OMAR        A withdrawal of funds from
                                 CARRASQUILLO     TD Bank account ending in
                                                  x0532 for the purpose of
                                                  purchasing a 2018 Jeep
                                                  Wrangler and a 2018 Dodge
                                                  Charger.


39    sl29l20t8    $205,000.00   BILL OMAR        A withdrawal of funds from
                                 CARRASQUILLO     TD Bank account ending in
                                                  x0532 for the purpose of
                                                  purchasing a 2018 Bentley
                                                  Flying Spur.

40    9t4t20t8     $646,849.92   BILL OMAR        A withdrawal of funds from
                                 CARRASQUILLO     Bank of America account
                                                  ending in x5230 for the
                                                  purpose ofpurchasing a
                                                  property on Fox Chase Court,
                                                  in Woolwich Twp., NJ.

41    r012312018   $34,000.00    BILL OMAR        A withdrawal of funds from
                                 CARRASQI.IILLO   Bank of America account
                                                  ending in x5230 for the
                                                  purpose of purchasing jewelry.

42    rU6/20t8     $140,571.00   BILL OMAR        A withdrawal of funds from
                                 CARRASQUILLO     Bank of America account
                                                  ending in x5230 for the
                                                  purpose ofpurchasing a 2018
                                                  Tesla Model S.


43    tU8l20t8     s233,245.09   BILL OMAR        A withdrawal of fi.rnds from
                                 CARRASQUILLO     Bank of America account
                                                  ending in x5230 for the
                                                  purpose of purchasing a 2019
                                                  Lamborghini Urus.




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                                         BILL OMAR        A withdrawal of funds from
44        r2l4l20l8      $158,711.15
                                         CARRASQUILLO     Bank of America account
                                                          ending in x5230 for the
                                                          purpose of Purchasing a 2019
                                                          Mercedes G550'


                                         BILL OMAR        A transfer of funds from Bank
           r2l18l20r8 $233,272.34
                                                          of America account ending in
45
                                         CARRASQUILLO
                                                          x5230 for the PurPose of
                                                          purchasing a 2019 Rolls
                                                          Royce Cullinan'


                                         BILL OMAR        A withdrawal of funds from
46         1212012018    $80,000.00
                                         CARRASQUILLO     Bank of America account
                                                          ending in x5230 for the
                                                          purpose of Purchasing a 2019
                                                          Mercedes GLE43'


                                         BILL OMAR         A teller transfer of funds from
 47         t212012018    s282,242.62
                                         CARRASQUILLO,     GONZALES to
                                         JESSE GONZALES    CARRASQUILLO.

                                          BILL OMAR        A check from Bank of
           2l2sl20r9      $94,243.98
 48
                                          CARRASQUILLO     America account ending in
                                                           x5230 for the PurPose of
                                                           purchasing a2019 Dodge
                                                           Challenger.


                                          BILL OMAR        A withdrawal of funds from
 49         311y2019      $195,805.97
                                          CARRASQUILLO     Bank of America account
                                                           ending in x5230 for the
                                                           putpot. of Purchasing a 2019
                                                           Mercedes GT63C4S'


                                          BILL OMAR         A payment to a PhiladelPhia-
                           $92,000.00
                                                            area jeweler for the PurPose of
     50     312712019
                                          CARRASQUILLO
                                                            purchasing jewelry.

                                          BILL OMAR         A withdrawal of funds from
             612812019     $533"000.00
     51
                                          CARRASQTIILLO     the TD Bank account ending
                                                            in x4218 for the PurPose of
                                                            purchasing a2019
                                                            Lamborghini Aventador, and
                                                             other vehicles.




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52   812U20t9     $162,000.00       BILL OMAR                 A withdrawal of funds from
                                    CARRASQUILLO              TD Bank account ending in
                                                              x0356 for the purpose of
                                                              purchasing a2019 Acura
                                                              NSX.

53   9lt6l20t9     $100,000.00      BILL OMAR                 A payment to a Philadelphia-
                                    CARRASQUILLO              area jeweler for the purpose of
                                                              purchasing jewelry.

54    r1t8l20l9    $154,386.00       BILL OMAR                A withdrawal of funds from
                                     CARRASQUILLO             TD Bank account ending in
                                                              x4011 for the purpose of
                                                              purchasing a2020 BMW M8.


        All in violation of Title 18, United   States Code, Section 1957.




                                          JJ
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                                       COT]NT FIFTY.FIVE

THE GRAND JURY FURTHER CHARGES THAT:

               On or about November      2},20lg,in the Eastern District of Pennsylvani4

defendant

                                 BILL OMAR CARRASQUILLO'
                                        ilMa"Omarr"
                                         tMa "Omir"
                                        aMa"Targetr"
                                       alU a'oT argetin 1080P,"

                                                                               the executive
in a matter within the jurisdiction the Internal Revenue Service, an agency of

                                                                       made a materially false,
branch of the Government of the united States, knowingly and willfully

fictitious, and fraudulent statement and representation in that defendant CARRASQLnLLO

stated that he had sold his   Mclaren sports car to Person   5   prior to November 20,2019,in

                                                                           then knew, he had
exchange for $150,000 in cash and diamond earrings, when, as the defendant

                                                                            5'
not at the time he made the statement sold the Mclaren sports car to Person

                In violation of Title 18, United states code, Section 1001.




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                                      COUNT FIFTY.SIX

THE GRAND JURY FURTHER CHARGES THAT:

               On or about November 20,2019, in the Eastern District of Pennsylvania,

defendant

                              BILL OMAR CARRASQUILLO,
                                     LMa"Omarr"
                                      aMa"Omir"
                                     aMa"Targetr"
                                     alUa "Targetin1080P"'

in a matter within the jurisdiction the Internal Revenue Service, an agency of the executive

branch of the Government of the United States, knowingly and willfully made a materially false,

f,rctitious, and fraudulent statement and representation in that defendant CARRASQUILLO

stated that he had sold his 2019 Freightliner Recreational Vehicle prior to November   20,2019,

when, as the defendant then knew, he had not at the time he made the statement sold the

Freightliner Recreational Vehicle.

               In violation of Title 18, United States Code, Section 1001'




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                                   COUNT FIFTY-SEVEN

                        CHARGES THAT:
TITE GRAND JURY FURTHER

              FromonoraboutNovember20,2olgtoonoraboutJanuary|o,2020,inthe

                                 and elsewhere' defendant
Eastern District of Pennsylvania

                              BILL OMAR CARRASQUILLO,
                                     aMz"Ofrarr"
                                      aMa"Omir"
                                        alUa"Targetr"
                                     aNa"Targetinl080P"'
                                                                     Federal Bureau of
                                  property by Special Agents of the
 after asearch for and seizure of
                                                                                such search and
                                          service' persons authorized to make
Investigation and the Internal Revenue
                                                                              purpose of preventing
                         transfer or dispose of a Mclaren sports car for the
seizure, did knowingry
                                                                          into its custody and
 and impairing the Government,s
                                   lawful authority to take said property
                                                                custody and control'
                                 such property under its lawful
 control and to continue holding

                InviolationofTitlelS,UnitedStatesCode,Section2232(a).




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                                   COTJNT FIFTY-EIGHT

THE GRAND JURY FURTHER CHARGES THAT:

               From on or about November 20,2019 to on or about December 2019, in the

Eastem District of Pennsylvania and elsewhere, the defendant,

                              BILL OMAR CARRASQUILLO,
                                     alUt*Omarr"
                                        alWa"Omir"
                                       aMa"Targetr"
                                    alUa"Targetinl080P,"

after the search for and seizure of property by Special Agents of the Federal Bureau   of

Investigation and the Internal Revenue Service, persons authorized to make such search and

seizure, did knowingly transfer or dispose   of a2019 Freightliner Recreational Vehicle for the

purpose of preventing and impairing the Government's lawful authority to take said properly into

its custody and control and to continue holding such property under its lawful custody and

control.

               In violation of Title 18, United States Code, Section 2232(a).




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                     COTINTS FIFTY-NINE THROUGH SIXTY'TWO

THE GRAND JURY FURTHER CHARGES
                               THAT:

               l.TheallegationssetforthinParagraphslthrough46andovertActsl
                                         by reference'
through 36 of Count One are incorporated

               2.From2016through2aTg,defendantBILLOMARCARRASQUILLO

earnedmillionsofdollarsinincomefromthelnfringingService.
                                                                   through 2a19' defendant BILL
               3.        During each of the calendar years of 2016

OMARCARRASQUILLOreceivedsubstantialtaxableincomeuponwhichtherewasincome
                                       of America'
tax due and owing to the United States

               4.Despiteearningsubstantialincomefrom20l6through2019,defendant
                                        file any individuar or corporate federal income
BILL .MAR cARRASeuILLo faited to timely

tax returns for tax years 2016 through 2019
                                            did not pay any taxes due and owing on the income
                                                                                        steps to
                                           the said years, and took various affirmative
defendant CARRASQUILLO received for

                                      income that defendant   cARRAseuILLo received for the
 evade the assessment of taxes on the

 said years, as further described below'

                5'FrominoraboutJanuaryofeachtaxyearspecifiedbelowthroughonor
                                     year as specified below, in the Eastern District
                                                                                      of
 about the 15tr day of   April in the fo[owing

 Pennsylvania and elsewhere, defendant

                                  BILL OMAR CARRASQUILLO,
                                            a,lUa"Omarr"
                                             aMa"Omir"
                                           rlUa'oTargetr"
                                        aMao'Targetin1080P"'

  willfuIlyattemptedtoevadeanddefeatanincometaxdueandowingbyhimtotheUnitedStates
                                                                                   by failing
                                        below, each constituting a separate count,
  of America for the calendar years specified




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to make an income tax retum, as required by law, to any proper officer of the Internal Revenue

Service, and by failing to pay to the Internal Revenue Service this income tax, and by concealing

and attempting to conceal from all proper officers of the United States of America his true and

correct income through various means, including, among other things:

               a)     ln20l6,defendant CARRASQUILLO caused proceeds from the
                      Infringing Service to be deposited into nominee bank accounts ostensibly
                      held or controlled by Person 6.

               b)     ln20l7   and 2018, defendant CARRASQUILLO caused proceeds from the
                      Infringing Service to be deposited into a nominee bank account ostensibly
                      heid or controlled by Person 2, a substantial portion of which Person 2
                      then diverted to GARI{ASQUILLO, including by paying him with checks,
                      items, and large amounts of cash.

               c)     In 2018 and20l9, defendant CARRASQUILLO caused proceeds from the
                      Infringing Service to be deposited into nominee merchant service accounts
                      ostensibly held or controlled by defendant JESSE GONZALES.

               d)     In 2018, defendant CARRASQUILLO caused proceeds from the
                      Infringing Service to be deposited into a nominee merchant service
                      account ostensibly held or controlled by Person 7.

               e)     In 2018, after being advised by a tax return preparer, Person 8, that he
                      would have to pay taxes and file tax returns on significant income,
                      defendant CARRASQUILLO instead hired a new tax return preparer,
                      Person 9.

               0      In 2018, defendant CARRASQUILLO provided Person 9 with inaccurate
                      and incomplete information and business records, ostensibly to prepare his
                      2016 and20l7 tax returns.

               g)     In 2018, defendant CARRASQUILLO provided Person 9 with a list of
                      vehicles that he falsely claimed were for business purposes, ostensibly to
                      prepare his 2016 and2017 tax returns.

               h)     In20l9, defendant CARRASQUILLO            caused proceeds from the
                      Infringing Service to be deposited into   a nominee merchant service
                      account ostensibly held or controlled by Person 4.

               i)     1n2019, defendant CARRASQUILLO caused proceeds from the
                      Infringing Service to be deposited into a nominee merchant service
                      account ostensibly held or controlled by Person 10.




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  i)         In2}lg defendant CARRASQUILLO provided Person 9 with inaccurate
             *d ir"o-plete information and business records, ostensibly to prepare his
             2016,2017, and 2018 tax retums'
                                                                              pay taxes
   k)        In20l9,after being advised by Person 9 that he would have to
             and file tax returns on significant income, defendant
                                                                   CARRASQUILLO
             instead hired a new tax r.t r* preparer, Person 1 1,
                                                                  ostensibly to prepare
             his 2016 through 2018 tax returns'

   r)        ln2)lg defendant CARRASQUILLO provided Person 11 withprepare
                                                                   inaccurate
                                                                          his
             *d in.o.plete  information and business records, ostensibly to
             2016 through 2018 tax returns.

   m)        ln 20lg defendant CARRASQUILLO           obtained personal identiff ing
             information from Person 12, for the purpose of creating q IRS
                                                                               Form 1099
             that would falsely report substantial incotne that
                                                                GARRASQUILLO
                                                                  by Person 12.
             eamed from the infringing Service as being earned

                                                           personal identifuing
   n)        In 2019, defendant CARRASQUILLO caused
                                                               13, a tax return preparer,
             information from Person12to be given to Person
                                                               would falsely report
             for the purpose of creating an IRS Form 1099 that
                                                               from the Infringing
             substantial income that CLRRASQUILLO earned
             Service as being eamed by Person 12'

    o)        ln20l6,20l1,2OlS,and2}lg,defendantCARRASQUILLOpaida
                                                             the Infringing Service's
              substantial amount orm. personal expenses from
              business accounts.
                                                                   with inaccurate
    p)        ln 2l2},defendant CARRASQLIILLO provided Person 1.1.     prepare his
                                                                           to
              *a  inrornplete information and business records, ostensibly
              2016 through2}l9 tax returns'

       q)     Throughout the period from 2016 through 20l9'.defendant
                                                                         large
              CenfiiSqUILLO made extensive use of cash, including taking
              cashwithdrawalsfromhisbusinessaccotrntsandpayingcashto
              independentcontractorsandothersforservicesperformedfor
              CARRASQUILLO.
                                                                      falsely told an IRS
        r)    on November 19, 2}|g,defendant CARRASQUILLO
                                                                      Person 9'
              ug.rr,fr", he had filed his tax retums in 2018' through
                                                                     falsely told an IRS
        s)    on Novemb er lg,2}lg,defendant CARRASQUILLO
                                                                            allegedly
              ug.*,lr* he had reportld a1_ofhis income on the tax retums
                                                                       Form   1099s
              iir.a tv person g, including the income reported-on IRS
              issued by the payment ptoit"ott used by
                                                        the Infringing Service'




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                      Count              Tax Year


                        59                 20t6


                        60                 2017



                        61                 201 8



                        62                  20t9


   All in violation of Title 26, United States Code, Section 7201.




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                              NOTICE OF FORFEITURE NO.               1


                               THAT:
THE GRAND JURY FURTHER CHARGES

               l.AsaresultoftheviolationsofTitlels,UnitedStatescode'Sections371'
                                         defendants
1343,2319, set forth in this indictment'

                               BILL OMAR CARRASQUILLO,
                                             alUa'oOmarr"
                                             zMa"Omir"
                                          aMa"Ttrgetr'o
                                        aMa"Ttrgetinl080P"0
                                        JESSE GONZALES,

                                        *#,il#fT"al$,,
                                                                                 that constitutes or is
      forfeit  to  the United  States of America any property' real or personal'
shall
                                                                            incruding, but not limited
         from    proceeds   traceabre to the commission of such viorations,
derived

                                  $34,826,402'00  (Forfeiture Money Judgment)' and the following
to the sum    of  approximately

proPefiY:

                A.      Financial lnstruments:

                       i.$5,230,918.26inUnitedStates(hereinafter..IJ.S.,,)ct}ITencyseized

                             fromTDBankAccowfi#432.96340|l,inthenameofBillomar

                             Carrasquillo;

                       ii.5542,44|.50inU.S.cruTencyseizedfromNuveiTechnologies,which

                             NuveiTechnologieshadbeenholdingforthebenefitof..Gears

                             Server";

                       iii.S2g4,g|l.33inU.S.cluTencyseizedfromBankofAmericaAccount#

                              3250g0g2o626,inthenalneof..JesseDanielGonzalesSoleProp

                              DBA GT SubscriPtions";




                                                      42
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        iv.    $446,428.56 in U.S. culrency seized from Bank of America Account #

               3251 0986   glgl,in the name of "Jesse Daniel Gonzales Sole Prop

               DBA GT Subscriptions"; and

        v.     $173,250.00 in U.S. crrrency seized from F&A Federal Credit Union

               Account # 639700, in the name of Jesse Gonzales and Jennifer L

               Gonzales;

   B.     United States crrrency:

         i.    $20,020.00 in U.S. culrency seized on November 20,2019, from

               North Hope Street, Philadelphia, Pennsylvania;

        ii.    $1,190.00 in U.S. culrency seized on November 20,2019,ftom

               Lorimer Avenue, Huntingdon Valley, Pennsylvania;

        iii.   $20,850.00 in U.S. culrency seized from a 2020 Bentley Continental

               VIN # SCBCG2ZGLLC074750, registered to and in possession of Bill

               Omar Canasquillo;

        iv.    $80,000.00 in U.S. ct}Irency seized from a 2018 Mercedes Benz AMG

               VIN # WDD7X8KB9KA001903, registered to Claudio Roman, Jr.,

               and in possession of   Bill Omar Carrasquillo;   and

        v.     $62,920.00 in U.S. culrency seized on November 20,2019, from

               Terradell Street, Pico Rivera, California, 90660;

   C.      Vehicles:

         i.    One 2019 Jeep Wrangler,          VIN # 1C4HIXEG6KW570874;

        ii.    one 2018 Dodge Commercial ProMaster 2500 159" W.B. High Roof,

               VIN # 3C6TRVDGTJE           1   48833   ;




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      iii.     Onel[I}Lamborghini Huracan' VIN # ZHWUF4ZF9LLA|2725;

       iv.     One 2019 Suzuki Motorcycle'   VIN # JS1SK44A0K7101007;

       v.One20lgChevroletCamaro'VIN#1G1FH1R79K0108119;

       vi.     One 2018 Dodge Durango,     VIN # 1C4SDJGJ4JC4L60L9;

      vii.one20lgSuzukiDRZ400Motorcycle,VIN#JSlSK44A3K7100952;

      viii.one20lgYamahaT00Rfourwheeloffroadvehicle'VIN#

               5Y4AM8631KA104297;

       ix.      One2020Jeep Gladiator, VIN # 1C6JJTBG2LL10L726;

        x.     One 2019 Dodge Challenger'    VIN #2C3CDZL9XKH591151;

       xi.one20lSSuzukiDRZ400Motorcycle,VIN#JS1SK44A9J2102474;

       xii.     One2017 Ford F350 truck'   VIN #1FT8W3DT9HED56274;

       xiii.    One 2019 Can-Am Ryker'     VIN # 3JB2FEG49KJ002752;

       xiv.     One 2019 Audi A7,   VIN # WAUS2AF24KN105368;

                                 1290 Super Duke Motorcycle'   VIN #
        xv.     One 2018   KTM

                VBKV39400JM987624;

       xvi.     One 2019 Ford Mustang'     VIN # 1FA6P8TH2K5180423;

       xvii.     One 2019 AcuraNSX'    VIN # 19LrNC1B0XKY000173;

      xviii.one2015LamborghiniHuracan,VIN#ZHWUC|ZF4FLA02602;

        xix.one20lgLamborghiniAventador,VIN#ZHWW4ZD0Y\LA07980;
                                                 VIN # 1C4RJFN91JC405394;
        xx.      One 2018 Jeep Grand Cherokee'

        xxi.one20lgMercedesBenzGLEClassUtilityAMGSportsCoupe,VIN

                 # 4JGED6EB4I{A139824;

       xxii.      One2020Toyota Supra' VIN # WZ1DB4C05LW022111;




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     xxiii.    One Bentley Continentat GT / SuperSport Coupe,   VIN #

               SCBCG2ZGILCAT 47 50;

     xxtv.     One Jeep Grand Cherokee Trackhawk 4WD 6.2L V8 Supercharged,

               VIN # 1 C4RJFN93JC22477 9;

      xxv.     One 2016 Ford Mustang,   VIN # 1FA6P8CF0G5319034;

     xxvi.     One 2016 Dodge Charger,    VIN # 2C3CDXL9XGH3I23II;

     xxvii.    One20l7 Chewolet Tahoe, VIN # 1GNSKDEC8HM28971;

    xxviii.    One 2019 Honda Civic,    VIN # SHHFK8G70KU200613;

     xxix.     One 1996 Chevrolet Caprice, VIN # 1G1BL52P0TR|22129;

      xxx.     One2020 BMW M8, VIN # WBSAE0C00LBM08405;

     xxxi.     One 2019 Chevrolet Corvette,   VIN # 1GlYY2D77K5l045l5;

     xxxii.    One 2019 Dodge Ram,     VIN # 1C6SRFHT8KN533937;

    xxxiii.    One Backdraft Roadster Coupe,    VIN # AE9BMAAH3HIMT1025;

    xxxiv.     One 2016 Dodge Challenger,     VIN # 2C3CDZC9IGH113370;

     xxxv.     One Mercedes Benz GT63C4S,      VIN # WDDTX8KB9I(A001903;

    xxxvi.     One Dodge Grand Caravan SE,     VIN # 2C4RDGBG5I(R751876;

    xxxvii.    One 2018 Polaris Outlaw,   VIN # RF3YAK05XIT065024;

   xxxviii.    One 2019 Polaris Ranger XP with Plow,   VIN #

               4XARRW990K8546570;

    xxx1x.     One 2019 Yamaha 50 Child's Motorcycle,   VIN #

               LBPCA0230K0013324;

        xl.    One2020 Yamaha PW50, VIN # JYA3PT136LA0283l7;

        xli.    One 2018   KTM 690 Duke, VIN # VBKLDV40LJM7I4429;




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      xlii.   One 2019 Yamaha Raptor   ATV, VIN # Rf'3A81131KT004006;

     xliii.   one 2019 Honda 110 Motorcycle, VIN #LAL18024XK3101900;

     xliv.    One 2019 Polaris RZR   ATV, VIN # RF3YAVI7LKT029290;

      xlv.    One 2019 Honda TRX     ATV, VfN # 1HFT82733K4801310;

     xlvi.    one 2019 Honda 110 Motorcycle, VIN #LALIE0245K3I02I45;

     xlvii.   One 2019   KTM 790 Duke, VIN # VBKTU6406I{M739334;

    xlviii.   One 2019   KTM 390 Duke Motorcycle, VIN # MD2JPJ40LKC2L6497;

     xlix.    one 2019 KTM 390 Duke Motorcycle, VIN # MD2JPJ402KC2067L0;

        1.    One 2018 Honda CTX700N Motorcycle,     VIN #

              JH2RC6840JK300174;

        li.   One2019 Honda Rebel 500 Motorcycle, VIN #

              MLHPC5605K520t678;

       lii.   One 2018 Honda Rebel 500 Motorcycle,   VIN #

              MLHPC560lJ5100071;

      liii.   one20l9 KTM 790 Motorcycle, vIN # VBKTR3409I(N1765748;

       liv.   One 2019 Honda CRF450L Motorcycle,     VIN #

              JH2PD1115KK002373;

       lv.    One 2019 Yamaha   YZl25 Motorcycle, VIN   #


              JYACEl6C6KAO39562;

       lvi.   one 2019 Lamborghini urus Zolg,vlN # ZPBUAIZL9KLA01398;

      lvii.   One2020 Audi R8, VIN # WUAEEAFX1L7900342; and




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     lviii.     Net proceeds in the amount of $6,000.00 in lieu of one 2018 Yamaha

                Raptor 700 all-tenain vehicle seized on December 17,2019,in

                Deptford, New JerseY;

   D.      Real Properties:

         i.     The real property known as 108 W. Ontario Street, Philadelphia, PA

                19140;

         ii.    The re.al property known as 110 W. Ontario Street, Philadelphia, PA

                19140;

        iii.    The real property known as 120 Fox chase court, woolwich Twp, NJ

                08085;

         iv.    The real property known as 145 Kingston Road, Cheltenham, PA

                19012;

         v.     The real properly known as 1800 Pratt Street, Philadelphia, PA 19124;

         vi.    The real property known as 1948 N. Darien Street, Philadelphia, PA

                19122;

        vii.    The real property known as 1958 N. Darien Street, Philadelphia, PA

                 19122;

        viii.   The real property known as 2010 N' Darien Street, Philadelphia, PA

                 19122;

         ix.    The real property known as 2135 N. Stanley Street, Philadelphia, PA

                 l9r2l;
          x.     The real property known as2140 Eastburn Avenue, Philadelphia, PA

                 19138;




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                                              Germantown Avenue'
      xi.   The real property known as2303'07

            PhiladelPhia, PA 19133;

      xii.TherealpropertyknownasZ35lintonStreet,Philadelphia,PA

               19120;

      xiii.Therealpropertyknownas24|2N.2ndStreet,Philadelphia,PA

               19140;

      xiv.Therealpropertyknownas245TN.2ndStreet,Philadelphia,PA

               19133:.


       xv.Therealpropertyknownas253gN'LeithgowStreet'Philadelphia'PA

               19133;

       xvi'Therealpropertyknownas2544N.HancockStreet,Philadelphia,PA

                19133;

      xvii.Therealpropertyknownas255gN'Hopestreet'Philadelphia'PA

                19133;

                                                 Hope Street' Philadelphia' PA
      xviii.    The real property known as2713N'

                19133;

       xix.Therealpropertyknownas2Sl4ASffeet,Philadelphi4PA|9|34;

        xx.Therea]propertyknownas3005N'AmericanStreet,Philadelphia,

                 PA 19133;

        xxi'Therealpropertyknownas300TN.AmericanStreet,Philadelphia,

                 PA 19133;

        xxii.Therealpropertyknownas300gN.AmericanStreet,Philadelphia,

                 PA 19133;



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     xxiii.   The real property known as 3065 N. Darien Street, Philadelphia, PA

              191 33;


     xxiv.    The real property known as 3159 N. Darien Street, Philadelphia, PA

              r9t33;

     xxv.     The real property known as 3338 N. Hope Street, Philadelphia, PA

              19140;

     xxvi.    The real property known as3357 N. Hope Street, Philadelphia, PA

              19140;

    xxvii. The real property known as 3358 N. Hope Street, Philadelphia,   PA

              19140:,


    xxviii.   The real property known as 3360 N. Hope Street, Philadelphia, PA

              19140;

     xxix.    The real property known as 3365 N. Hope Street, Philadelphia, PA

              19t40;

     xxx.     The real property known as3407 N. Hope Street, Philadelphia, PA

              19140;

     xxxi.    The real property known as 3417 N. Hope Street, Philadelphia, PA

              t9t40;

    xxxii. The real property known as3426N.       Hope Street, Philadelphia PA

              19140;

    xxxiii.   The real property known as3435 N. Hope Street, Philadelphia, PA

              19140;




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                                     as 3508 Mascher Street'
                                                             Philadelphia' PA
   xxxiv.    The real property known

              19140;
                                                                 Philadelphia'
                                      as 3753 Kensington Avenue'
    xxxv.     The real property known

               PA19124:.

                                       as 4034   N' 8th Street' Philadelphia' PA
    xxxvi.     The real property known

               19140;
                                                                    Philadelphia'
               The real property known
                                       as 4llO-3lMacalester Avenue'
    xxxvii.
               PA.19122;
                                                                            PA
               The real property known
                                       as 434Delphine Street' Philadelphia'
    xxxviii.
                19r20;
                                                                   Philadelphia' PA
                                  known as 4808 N' Warnock Street'
     xxxix.     The real property

                19l4l;
                                                                              PA
                                  known as 5712N' Camac Street' Philadelphia'
        xl.     The real property

                 19141;

                                            600 E' Cornwall Street'
                                                                    Philadetphi4 PA
                                   known as
        xli.     The real property

                 19134;

        xlii.TherealpropertyknownasTlllYocumstreet'Philadelphia'PA

                 t9142;

        xliii.Therealpropertyknownasg2OW.HuntingdonStreet,Philadelphia,

                  PA 19133;

        xliv.Therealpropertyknownas2353-55N.2ndStreet,Philadelphia,PA

                  19133;

                                             401 Fern Road' Millville'
                                                                       NJ 08332;
         xlv.     The real property known as




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                xlvi.     The real property known as 0 Main Street     AKA Race Street,

                          Brookhaven, PA 19015;

                                                                                        PA
                xlvii.    The real property known as 3430 N. Ella Street, Philadelphia,

                           19134;

                                                                                             PA
               xlviii.     The real property known as 5960 N. Leithgow Street, Philadelphia,

                           19120;

                                                                                          PA
                 xlix.     The real property known as739 E. Willard Street, Philadelphia,

                           19134;

                                                                                           PA
                    1.     The real property known as 750 E. willard Street, Philadelphia,

                           19134;

                                                                                            PA
                   li.     The real property known as 834 E. Cornwall Street, Philadelphia,

                           19134; and

                                                                              Philadelphia, PA
                   lii.    The real property known as 1841 E. Wensley Street,

                           19134.


              2.      If any of the property   subject to forfeiture, as a result of any act or


omission of the defendants:

                      (a)      cannot be located upon the exercise ofdue diligence;

                      (b)hasbeentransferredorsoldto,ordepositedwith,athirdparty;

                         (c)hasbeenplacedbeyondthejurisdictionoftheCourt;

                         (d)   has been substantially diminished in value; or

                         (e)hasbeencommingledwithotherpropertywhichcannotbedivided

                               without diffrcultY;




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                                                                                         2461(c),
it is the intent of the United States, pursuant to Title 28, United States Code, Section
                                                                              of any other
incorporating Title 21, United States Code, Section 8530), to seek forfeiture

property of the defendants up to the value of the property subject to forfeiture'

               All pursuant to Title 28, United   States Code, Section 2461(c) and   Title   18, United


States Code, Section 981(aXlXC).




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                                   NOTICE OF FORFEITURE NO.2

THE GRAND JURY FURTHER CHARGES THAT:
                                                                                   Code, Section 1014,
               l.         As a result of the violations of Title 18, United States

set forth in this indictment, defendants

                                     BILL OMAR CARRASQUILLO,
                                                  alUa"Omar,"
                                                   aMa"Omir"
                                                  alUa"Targetr"
                                           alkl "T argetinl 080P," and
                                                a
                                               JESSE GONZALES'
                                                  alUar "WulfY,"

                                                 constituting, or derived from, proceeds obtained
shall forfeit to the United States, any property

directly or indirectlY,   &S   a result   of such violations'

                2,Ifanyofthepropertysubjecttoforfeiture,aSaresultofanyactor

omission of the defendants:
                                                                               diligence;
                           (a)       cannot be located upon the exercise ofdue

                           (b)hasbeentransferredorsoldto,ordepositedwith'athirdparty;

                           (c)hasbeenplacedbeyondthejurisdictionoftheCourt;
                                                                                 or
                           (d)       has been substantially diminished in value;

                           (e)hasbeencommingledwithotherpropertywhichcannotbedivided

                                      without difficultY;

 itistheintentoftheUnitedStates,pursuanttoTitlels'UnitedStatesCode'Section982(b)'
                                                                                       other
                                             Section 853(p), to seek forfeiture of any
 incorporating Title 21, United States code,

 propertyofthedefendantsuptothevalueofthepropertysubjecttoforfeiture.

                    AllpursuanttoTitlels,UnitedStatesCode,Sectiongs2(aX2XA)'




                                                            53
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                       CHARGES THAT:
THE GRAND JURY FURTHER

               1'AsaresultoftheviolationsofTitlels,UnitedStatesCode,sections3Tl,
                                                            defendants
                              set forth in this indictment'
and 1029(a)(2), (c)(1)(a)(i)'

                                 BILL OMAR CARRASQUILLO'
                                               aML*Omarr"
                                               alUao'Om.ir"
                                             alklao'Targetr"
                                          zlUr-"Tairgetinl080P"'
                                           JESSE GONZALES'

                                          #eil#flhr^l',
                                                                                   proceeds obtained
                              States any property  constituting, or derived from,
 shall forfeit to the United
                                                                     but not limited to' the sum
                                                                                                 of
                         as a resuit of such violations, incruding,
 directly or indirectry,

 approximately$34,826,402.00(ForfeitureMoneyJudgment),andthefollowingproperty:

                 A.      Financial Instruments:

                        i.$5,230,91g.26inunitedStates(hereinafter"IJ.S.")currencyseized

                               fromTDBankAccount#432-9634011,inthenameofBillomar

                               Carrasquillo;

                        ii.$542,529.50inU.S.culTencyseizedfromNuveiTechnologies,which

                               NuveiTechnologieshadbeenholdingforthebenefitof..Geats

                               Server";
                                                                                 of America Account #
                        iii.   $2g 4,g7 1.33 in   U'S' crrrency seized from Bank

                                                      nanle of
                                                                   o'Jesse   Daniel Gonzales Sole Prop
                                3250 9092 O626,in the

                                DBA GT SubscriPtions";




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         iv.    $446,428.56 in U.S. currency seized from Bank of America Account #

                3251 0986 g7gl, in the name of "Jesse Daniel Gonzales Sole Prop

                DBA GT SubscriPtions"; and

         v.     $173,250.00 in U.S. currency seized from F&A Federai Credit Union

                Account # 63g70o,in the name of Jesse Gonzales and Jennifer L

                Gonzales;

   B.      United States currency:

          i.    $20,020.00 in U.S. cr]Irency seized on November 20,2019, from

                North Hope Street, Philadelphia, Pennsylvania;

         ii.    g$1,190.00 in u.S. clurency seized on Novembet 20,2019, from

                Lorimer Avenue, Huntingdon Valley, Pennsylvania;

         iii.   $20,850.00 in U.S. curency seized from a 2020 Bentley Continental

                VIN # SCBCG2ZGLLC074750, registered to and in possession of Bill

                Omar Carrasquillo;

         iv.    $80,000.00 in U.S. currency seized from a 2018 Mercedes Benz AMG

                vIN   # WDD7X8KB9KA001903, registered to claudio Roman, Jr',

                and in possession of   Bill Omar Carrasquillo; and

          v.    $62,920.00 in U.S. currency seized on November 20,2019, from

                Terradell Street, Pico Rivera, Californi a 90660;

    C.      Vehicles:

           i.One20lgJeepWrangler,VIN#1C4HIXEG6KW570874;

          ii.   one 2018 Dodge commercial ProMaster 2500159" W.B. High Roof,

                VIN # 3C6TRVDG7JE148833          ;




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Case 2:21-cr-00367-HB Document 1 Filed 09/16/21 Page 56 of 69




                                                  VIN # ZHWUF 4ZF 9LL     A127 25 ;
                                            an'
               One 2020L amb or ghini Hurac

               One 2019 Suzuki Motorcycle'
                                               VIN # JSlSK44A0K7101007;

               One 2019 Chevrolet Camaro'
                                              VIN # 1G1FH1R79K0108119;

               One 2018 Dodge Durango,       VIN # 1C4SDJGJ4IC4160I9;

               One20lgSuzukiDRZ400Motorcycle'VIN#JS1SK44A3K7100952;
                                         wheel off road vehicle'   VIN #
               One 2019 Yamaha 700R four

               5Y4AM86311{A104297;

       lX.      Orc   2020Jeep Gladiator,   VIN # 1 C6JJTB G2LLl0l7 26;

                One 2019 Dodge Challenger'
                                               VIN #2C3CDZL9XKH591151;

                                                        VIN # JS1SK44 AXXXXXXXX;
                One 2018 Suzuki DRZ400 Motorcycle'

                 One2017 Ford F350 truck'     VIN #lFTSW3DT9HED56274;

                One 2019 Can-Am Ryker'
                                             VIN # 3JB2FEG49KJ002752;

                One 2019 Audi A7,    VIN # WAUS2AF24KN105368;

                                  1290 Super Duke Motorcycle'
                                                                VIN #
        xv.     One 2018   KTM

                 v8KV394001M987624;

                 One 2019 Ford Mustang'      VIN # 1FA6PBTH2K5L80423;

                 One 2019 AcuraNSX,     VIN # 19[INC1B0XKY000173;

                                                    VIN #ZHWUCLZF4FLA02602;
                 One 2015 Lamborghini Huracan'

                                                      VIN # ZHWW4ZD0YJA07980;
                 One 2019 Lamborghini Aventador'

                                                    VIN # 1C4RJFN9LIC405394;
         xx.     One 2018 Jeep Grand Cherokee'

        xxi.      One20lgMercedesBenzGLEClassUtilityAMGSportsCoupe'VIN

                  # 4JGED6EB4L{A139824;

                   One2[2OToyota Supra' VIN
                                            # WZLDB4C05LW022111;
        xxii.


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     xxlll.    One Bentley Continental GT   / SuperSport Coupe, VIN #

               SCBCG2ZGILCOT4T 50;

     xxlv.     one Jeep Grand cherokee Trackhawk 4wD 6.2L V8 Supercharged,

               VIN # 1C4RIFN93JC22477 9;

      xxv.     One 2016 Ford Mustang,   VIN # 1FA6P8CF0G5319034;

     xxvi.     One 2016 Dodge Charger,    VIN # 2C3CDXL9XGH3L23LI;

    xxvii.     One2017 Chevrolet Tahoe, VIN # 1GNSKDEC8HR228971;

    xxviii.    One 2019 Honda Civic,   VIN # SHHFK8G70KU200613;

     xxix.     One 1996 Chewolet Caprice, VIN # lG1BL52P0TRl22l29;

      xxx.     One2020 BMW M8, VIN # WBSAE0C00LBM08405;

     xxxi.     One 2019 Chevrolet Corvette,   VIN # 1GIYY2D77K5I04515;

     xxxii.    One 2019 Dodge Ram,     VIN # 1C6SRFHT8I(N533937;

    xxxiii.    one Backdraft Roadster coupe, vIN # AE9BMAAH3H1MT1025;

    xxxiv.     One 2016 Dodge Challenger,     VIN # 2C3CDZC91GH1 13370;

     xxxv.     one Mercedes Benz GT63C4S, VIN # WDD7X8KB9KA001903;

    xxxvi.     one Dodge Grand caravan sE, vIN # 2C4RDGBG5KR75l876;

    xxxvii.    One 2018 Polaris Outlaw,   VIN # RF3YAK05XJT065024;

   xxxviii.    One 2019 Polaris Ranger XP with Plow,   VIN #

               4XARRW990K8546570;

    xxx1x.     One 2019 Yamaha 50 Child's Motorcycle,    VIN #

               L8PCA0230K0013324;

         xl.    One 2020 Yamaha PW50,     VIN # JYA3PT13 6LA028317;

        xli.    One 2018   KTM 690 Duke, VIN # VBKLDV40LJM7L4429;




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     xlii.     one 2019 Yamaha Raptor ATV, VIN # RF3AB1131KT004006;

     xliii.    one 2019 Honda 110 Motorcycle, vIN #LAL1E024XK3101900;

     xliv.     one 2019 Polaris RZR ATV, VIN # RF3YAV1TLL{T029290;

      xlv.     One 2019 Honda TRX ATV,   VIN # 1HFTE2733K4801310;

     xlvi.     one 2019 Honda 110 Motorcycle, VIN #LALJ80245K3102145;

     xlvii.    one 2019 KTM 790 Duke, vIN # VBKTU64061{N1739334;

    xlviii.    one 2019 KTM 390 Duke Motorcycle, vIN # MD2JPJ401KC2I6497;

     xlix.     one 2019 KTM 390 Duke Motorcycle, vrN # MD2JPJ402KC2067L0;

        l.     One 2018 Honda CTX700N Motorcycle,     VIN #

               JH2RC6840JK300174;

        li.    One 2019 Honda Rebel 500 Motorcycle,   VN   #


               MLHPC5605K5201678;

       lii.    One 2018 Honda Rebel 500 Motorcycle,   VIN #

               MLHPC5601J5100071;

       liii.   one 2019 KTM 790 Motorcycle, VIN # VBKTR3 4091{N1765748"

       liv.    One 2019 Honda CRF450L Motorcycle'     VIN #

                JH2PD1115KK002373;

        lv.     One 2019 Yamaha   YZl25 Motorcycle' VIN    #


                JYACE16C6T(A039562;

       lvi.     one 2019 Lamborghini Urus 201},VIN # ZPBUATZL9KLA01398;

       lvii.One2020AudiR8,VIN#WUAEEAFX1L7900342;ar]d




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                                                                   one 201 8 Yamaha
     lviii.     Net proceeds in the amount of $6,000.00 in lieu of

                RaptorT00all-tenainvehicleseizedonDecemberlT,20l9,in

                DePtford, New JerseY;

   D.     Real ProPerties:

                                                 w. ontario   Street, Philadelphia, PA
         i.     The real property known as 108

                r9140;

                                                 w. ontario   Street, Philadelphia, PA
        ii.     The real property known as 110

                 19140:'

        iii.Therealpropertyknownasl20FoxChaseCourt,WoolwichTwp,NJ

                 08085;

        iv.Therealpropertyknownasl45KingstonRoad'Cheltenham'PA

                 19012;

                                                               Philadelphia, PA 19124;
         v.      The real property known as 1800 Pratt Street,

                                                           Street, Philadelphia, PA
        vi.      The real property known as 1948 N. Darien

                 19122;

                                                                   Philadelphia, PA
        vii.     The real property known as 1958 N. Darien Street,

                 19122;

                                                           street, Philadelphia, PA
        viii.    The real property known as 2010 N. Darien

                  19r22;
                                                            Street, Philadelphia, PA
         ix.      The real property known as2|35 N. Stanley

                  19r2t;

          x.Therealpropertyknownas2|4}EastburnAvenue,Philadelphi4PA

                  19138;




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       xi.    The real property known as2303-07 Germantown Avenue,

              Philadelphia, PA   1   91   33;

      xii.    The real property known as 235 Linton Street, Philadelphia, PA

              19120;

      xiii.   The real property known           as24l2N. 2nd Street, Philadelphia, PA

              r9140;

      xiv.    The real property known as2457 N. 2nd Street, Philadelphia, PA

              19133;

      xv.     The real property known as2539 N. Leithgow Street, Philadelphia, PA

              t9133;

      xvi.    The real property known as2544 N. Hancock Street, Philadelphia, PA

              t9133;

     xvii.    The real property known as2559 N. Hope Street, Philadelphia, PA

              19133;

     xviii.   The real property known as2713 N. Hope Street, Philadelphia, PA

              19133;

      xix.    The real property known as28l4           A   Street, Philadelphia,   PA 19134;

       xx.    The real property known as 3005 N. American Street, Philadelphia,

              PA 19133;

      xxi.    The real property known as 3007 N. American Street, Philadelphia,

              PA 19133;

      xxii.   The real property known as 3009 N. American Street, Philadelphia,

              PA 19133;




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     xxiii.   The real property known as 3065 N. Darien Street, Philadelphia, PA

              t9r33;

     xxiv.    The real property known as 3159 N. Darien Street, Philadelphia, PA

              r9r33;

     xxv.     The real property known as 3338 N. Hope Street, Philadelphia, PA

              19140;

     xxvi.    The real property known as 3357 N. Hope Street, Philadelphia, PA

              19140;

    xxvii. The real property known as 3358 N. Hope Street, Philadelphia,    PA

              19t40;

    xxviii.   The real property known as 3360 N. Hope Street, Philadelphia, PA

              19140;

     xxix.    The real property known as 3365 N. Hope Street, Philadelphia, PA

              19140;

      xxx.    The real property known as3407 N. Hope Street, Philadelphia, PA

               19140;

     xxxi.    The real property known as34l7 N. Hope Street, Philadelphia, PA

               19140;

     xxxii. The real property known as3426N.      Hope Street, Philadelphia, PA

               19140;

    xxxiii.    The real property known as 3435 N. Hope Street, Philadelphia, PA

               19140;




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Case 2:21-cr-00367-HB Document 1 Filed 09/16/21 Page 62 of 69




   xxxiv.     The real properly known as 3508 Mascher Street, Philadelphia, PA

              19140;

    xxxv.     The real property known as3753 Kensington Avenue, Philadelphia,

              PAl9l24;

    xxxvi.    The real property known as 4034   N. 8th Street, Philadelphia, PA

              19140;

   xxxvii. The real property known as 4210-32Macalester        Avenue, Philadelphia,

              PA19122;

   xxxviii.   The real property known as 434 Delphine Street, Philadelphia, PA

              19r20;

    xxxix.    The real property known as 4808 N. Wamock Street, Philadelphia, PA

              l9l4l;
       xl.    The real property known as 5712N. Camac Street, Philadelphia, PA

              t9141;

      xli.    The real property known as 600 E. Cornwall Street, Philadelphia, PA

              19134;

      xlii.   The real property known as7112 Yocum Street, Philadelphia, PA

               19142;

     xtiii.   The real property known as920 W. Huntingdon Street, Philadelphia,

              PA 19133;

      xliv.   The real property known as2353-55 N. 2nd Street, Philadelphia, PA

               1   9l 33;

      xlv.     The real property known as 401 Fern Road,   Millville, NJ 08332;




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          Case 2:21-cr-00367-HB Document 1 Filed 09/16/21 Page 63 of 69




                 xlvi.     The real property known as 0 Main Street AKA Race Street,

                           Brookhaven, PA 19015;

                 xlvii.    The real property known as 3430 N. Ella Street, Philadelphia, PA

                           19134;

                xlviii.    The real property known as 5960 N. Leithgow Street, Philadelphia, PA

                           19120;

                 xlix.     The real properfy known as739 E. Willard Street, Philadelphia, PA

                           19134;

                     l.    The real property known as 750 E. Willard Street, Philadelphia, PA

                           19134;

                    li.    The real property known as 834 E. Cornwall Street, Philadelphia, PA

                           19134; and

                    lii.   The real property known as 1841 E. Wensley Street, Philadelphia, PA

                           t9134;


and any personal property used or intended to be used to commit such violations.

               2.      If any of the property subject to forfeiture,   as a result of any act or


omission of the defendants:

                       (a)     cannot be located upon the exercise ofdue diligence;

                       (b)     has been transferred or sold to, or deposited    with,   a   third party;

                       (c)     has been placed beyond the   jurisdiction of the Court;

                       (d)     has been substantially diminished in value; or

                       (e)     has been commingled     with other property which cannot be divided

                               without diffrculty;



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it is the intent of the United   States, pursuant to   Title   18, United States Code, Sections 982(b) and


1029(c)(2),incorporating Title 21, United States Code, Section 853(p), to seek forfeiture of any

other property of the defendants up to the value of the property subject to forfeiture.

                All   pursuant to   Title   18, United States Code, Sections 982(aX2XB) and


102e(c)(1XC).




                                                       64
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                                  NOTICE OF'FORFEITURE NO.              4


THE GRAND JURY FURTHER CHARGES THAT:

               1   .      As a result of the violations of Title 1 8, United States Code, Section 1957 ,

set forth in this indictment, defendants

                                  BILL OMAR CARRASQUILLO,
                                             aMt"Omarr"
                                              tlWa"Omir"
                                             aMa"Targetr"
                                      alU a o'T argetin I 080Pr" and
                                         JESSE GONZALES,
                                             a/k/a "Wulfy,"

shall forfeit to the United States of America any property, real or personal, involved in such

offenses, or any property traceable to such property, including, but not limited to the following:

               A. Vehicles:
                         i.    One 2019 Lamborghini Aventador,     VN # ZHWIJV4ZD0KLA07980;

                        ii.    One2020 Lamborghini Huracan, VIN # ZHWUF4ZF9LLA|2725;

                        iii.   One 2019 Lamborghini Urus 20L9,VIN # ZPBUAIZL9KLA01398;

                        iv.    One Mercedes Benz GT63C4S,       VIN # WDD7X8KB9KA001903;

                        v.     One 2019 AcuraNSX,     VIN # 19LINC1B0XKY000173;

                        vi.    One2020 BMW M8, VIN # WBSAE0C00LBM08405;

                       vii.    One 2019 Dodge Challenger,    VIN # 2C3CDZL9XKH591151;

                       viii.   One 2019 Mercedes Benz GLE Class        Utility AMG   Sports Coupe,   VIN

                               # 4JGED6EB4T{A139824;

                        ix.    One 2019 Dodge Ram,     VIN # 1C6SRFHT8KN533937; and

                         x.    One 2019 Chevrolet Corvette,   VIN # 1G1YY2D77K5104515.

                B.         Real Property:




                                                    65
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                       i.    The real property known as 120 Fox Chase Court, Swedesboro, New

                            Jersey, 08085.

                2.      Ifany ofthe property      subject to forfeiture, as a result   ofany act or

omission of the defendants:

                        (a)        cannot be located upon the exercise of due diligence;

                        (b)       has been transferred or sold to, or deposited      with,   a   third party;

                        (c)       has been placed beyond the        jurisdiction of the Court;

                        (d)       has been substantially diminished in value; or

                        (e)       has been commingled          with other property which cannot be divided

                                  without difficulty;

it is the intent of the United   States, pursuant to   Title   18, United States Code, Section 982(b),

incorporating Title 21, United States Code, Section 853(p), to seek forfeiture of any other

property of the defendants up to the value of the property subject to forfeiture.

                All pwsuant to Title     18, United States Code, Section      982(a)(l).




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                                   NOTICE OF F'ORFEITURE NO.                 5


TITE GRAND JT]RY FURTHER CHARGES THAT:

                 1.       As aresult of the violations of Title 17, United States Code, Section 506

and   Title 18, United   States Code, Section 2319, set forth in this indictment, defendants

                                    BILL OMAR CARRASQUILLO,
                                           aML"Omarr"
                                                 aMa"Omi.,"
                                               t[Wa"Targetr"
                                           aMa"Tzrgetinl080P,"
                                            JESSE GONZALES,
                                             a/k/a "WulfYr" and
                                           MICHAEL BARONE,

shall forfeit to the United States any property constituting or derived from any proceeds obtained

directly or indirectly as a result of the commission of such offenses.

                 2.       If   any of the property subject to forfeiture, as a result of any act or

omission of the defendants:

                          (a)       cannot be located uponthe exercise ofdue diligence;

                          (b)       has been transferred or sold to, or deposited     with,   a   third parry;

                          (c)       has been placed beyond the       jurisdiction of the Court;

                           (d)      has been substantially diminished in value; or

                           (e)      has been commingled         with other property which cannot be divided

                                    without difficulty;

it is the intent of the United    States, pursuant to   Title   18, United States Code, Section 2323(b)(2)'


incorporating Title 21,lJruted States Code, Section 853(p), to seek forfeiture of any other

property of the defendants up to the value of the property subject to forfeiture.




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             All   pursuant to Title 18, United States Code, Section 2323(b)(l).



                                                     A TRUE BILL:




             tt    );ll)fr:
    "-,trc',ARBITTIf,R WILLI
Acting United States Attorney




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